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                    13   Joerns Healthcare, LLC
                    14
                                                    UNITED STATES DISTRICT COURT
                    15
                                                  EASTERN DISTRICT OF CALIFORNIA
                    16
                         UNITED STATES EX REL. TURNER,              Case No. 1:17-CV-01757-LJO-SAB
                    17   et al.,
                                                                    NOTICE OF MOTION AND MOTION
                    18                        Plaintiffs,           TO DISMISS THE FIRST AMENDED
                                                                    COMPLAINT BY DEFENDANTS
                    19                 v.                           DYNAMIC MEDICAL SYSTEMS, LLC
                                                                    AND JOERNS HEALTHCARE, LLC
                    20   DYNAMIC MEDICAL SYSTEMS, LLC,
                         et al.,                                    Date:    March 18, 2020
                    21                                              Time:    8:30 AM
                                              Defendants.           Ctrm.:   4 (7th Floor)
                    22                                              Judge:   Lawrence J. O’Neill
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MORGAN, LEWIS &                                                                 DEFENDANTS DMS’ & JOERNS’
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                1                       MOTION TO DISMISS
   LOS ANGELES                                                                        1:17-CV-01757-LJO-SAB
                         Case 1:17-cv-01757-NONE-SAB Document 60 Filed 01/29/20 Page 2 of 3

                     1           TO THIS HONORABLE COURT AND TO ALL PARTIES AND THEIR

                     2   ATTORNEYS OF RECORD:

                     3           PLEASE TAKE NOTICE that on March 18, 2020 at 8:30 AM, or as soon thereafter as

                     4   the matter may be heard before the Honorable Lawrence J. O’Neill of the United States District

                     5   Court for the Eastern District of California, at the United States Courthouse, 2500 Tulare Street,

                     6   Seventh Floor, Fresno, CA 93721, Defendants Dynamic Medical Systems, LLC and Joerns

                     7   Healthcare, LLC (collectively, “Defendants”), by and through their attorneys, will and hereby do

                     8   move for an order dismissing the First Amended Complaint of Relator Thomas Turner (“Relator”)

                     9   with prejudice pursuant to Federal Rules of Civil Procedure 9(b) and 12(b)(6) and granting
                    10   Defendants such other and further relief as the Court deems just and proper.

                    11           As set forth in the accompanying brief, Relator’s First Amended Complaint, alleging

                    12   violations of the federal False Claims Act (“FCA”) and the California False Claims Act, fails to

                    13   plead these violations with the particularity required by Rule 9(b) and otherwise fails to state claims

                    14   for which relief can be granted under Rule 12(b)(6). Among other deficiencies, the First Amended

                    15   Complaint fails to allege a single claim presented for payment to Medicare or Medi-Cal as required

                    16   by the FCA, or alternatively, a scheme to submit false claims supported by sufficient indicia of

                    17   reliability to establish a strong inference that false claims actually were submitted. Relator will not

                    18   be able to address these shortcomings through re-pleading, in part because the Share of Cost

                    19   program does not implicate government funds. Even if a claim for payment could be pleaded,

                    20   Defendants’ practices constitute reasonable interpretations of ambiguous Medi-Cal provisions on

                    21   which the First Amended Complaint’s discriminatory billing allegations are based. Moreover, the

                    22   very same allegations in the First Amended Complaint as to both discriminatory billing and

                    23   “swapping” already were publicly disclosed by the State of California as the result of routine Medi-

                    24   Cal audits resulting in administrative litigation that occurred well before the time that Relator filed

                    25   this parasitic action.

                    26           This motion is based on this Notice of Motion and Motion; the accompanying Brief in

                    27   Support of Defendants’ Motion to Dismiss the First Amended Complaint; the accompanying

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MORGAN, LEWIS &                                                                                 DEFENDANTS DMS’ & JOERNS’
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                                                                        2                               MOTION TO DISMISS
   LOS ANGELES                                                                                        1:17-CV-01757-LJO-SAB
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                     1   Declaration of Scott A. Memmott, dated January 29, 2020, with attached exhibits in support thereof;

                     2   the pleadings and proceedings in this action; and on such other written and oral argument as may

                     3   be presented to the Court.

                     4

                     5   Dated:   January 29, 2020                           Respectfully submitted,

                     6                                                       MORGAN, LEWIS & BOCKIUS LLP
                     7

                     8                                                       By /s/ Scott A. Memmott
                                                                               Scott A. Memmott
                     9
                                                                                 Attorneys for Defendants
                    10                                                           Dynamic Medical Systems, LLC and
                                                                                 Joerns Healthcare, LLC
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MORGAN, LEWIS &                                                                              DEFENDANTS DMS’ & JOERNS’
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                                                                      3                              MOTION TO DISMISS
   LOS ANGELES                                                                                     1:17-CV-01757-LJO-SAB
